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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


UNITED STATES OF AMERICA

v.                                             CASE NO. 3:17-cr-58-J-39JBT

VERDELL TERRIA JONES


     UNITED STATES' MOTION FOR AN ORDER TO SHOW CAUSE RE:
               REVOCATION OF DEFENDANT'S BOND

      The United States of America, by and through the undersigned Assistant

United States Attorney, pursuant to 18 U.S.C. ' 3148(b), moves this Court for an

arrest warrant and an order for the defendant to appear at a show cause hearing to

evaluate whether there is cause for her pre-trial release to be revoked, and in support

thereof, submits the following:

                                  Factual Summary

      1.     On April 5, 2017, a grand jury returned a ten count Indictment

against the defendant. (Doc. 1) On April 11, 2017, United States Magistrate Judge

Joel B. Toomey appointed the Federal Public Defender to represent the defendant.

(Doc. 10) Mark Rosenblum, Esq., subsequently made his appearance on behalf of

the Federal Public Defender. On or about April 13, 2017, defendant was released on

pre-trial bond in this case pursuant to 18 U.S.C.' 3142. (Doc. 16)
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        2.      On May 3, 2017, June 26, 2017, and June 28, 2017, United States

Magistrate Judge Joel B. Toomey conducted a hearing, pursuant to Faretta v.

California, 95 S. Ct. 2525 (1975), and considered the factors outlined in U.S. v. Cash,

47 F.3d 1083 (11th Cir. 1995). (Doc. 51) Thereafter, the Court granted the

defendant’s request to represent herself and also appointed Mr. Rosenblum as stand-

by counsel. (Docs. 19, 51)

        3.      On April 3, 2018, United States Magistrate Judge Joel B. Toomey

issued an Order granting the United States’ oral motion for a Competency

Evaluation. (Docs. 130, 147) The Order directed in part that Dr. Saqib conduct a

competency evaluation at the Federal Public Defender’s Office, 200 W. Forsyth

Street, Suite 1240, Jacksonville, Florida 32202 on April 19, 2018 at 10:00 a.m.

(Doc. 147, pg. 9) The Order further directed that “[a] copy of this Order shall be

personally served on the Defendant, Verdell Terria Jones, by the United States

Marshal or his duly authorized representative.” (Doc. 147, pg. 10)

        4.      On April 9, 2018, the United States Clerk of the Court docketed

“United States Marshals Service Form USM-285” (Form). (Doc. 148) The Form in

part states “I hereby certify and return that I 1 have personally served … the process

described on the individual …, at the address shown above ….” Id.

        5.      Contrary to the Court’s Order, the defendant failed to show for the

competency evaluation on April 19, 2018.




1 In between the word “I” and “have” is a box with a checkmark. (Doc. 148)

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                                Memorandum of Law

       Title 18 U.S.C. § 3148(b) provides for the initiation of proceedings for

revocation of an order of release by the filing of a motion by an attorney of the

Government. In this case, the defendant failed to comply with an Order of this Court

that required her to attend a competency evaluation. The undersigned counsel for the

United States accordingly requests that the Court order that the defendant appear

before the Court and show cause why her bond should not now be revoked and that

an arrest warrant be issued for the defendant.

       WHEREFORE, the United States respectfully requests that the Court grant

the above relief.

                                                 Respectfully submitted,

                                                 MARIA CHAPA LOPEZ
                                                 United States Attorney


                                        By:      s/ Kevin C. Frein
                                                 KEVIN C. FREIN
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                            CERTIFICATE OF SERVICE

       I hereby certify that on April 24, 2018, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

                            Mark Rosenblum, Esquire
                            (Standby counsel for Verdell Terria Jones).

       I hereby certify that on April 24, 2018, a true and correct copy of

the foregoing document and the notice of electronic filing were sent by United States

Mail to the following non-CM/ECF participant(s):

                          Verdell Terria Jones
                          PRO SE
                          C/O Courtney Brown
                          1780 Leon Road #2212
                          Jacksonville, Florida 32246.




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      I hereby certify that on April 24, 2018, a true and correct copy of the foregoing

document and the notice of electronic filing was sent by hand delivery to the

following non-CM/ECF participant:

                          James Haskett
                          U.S. Pretrial Services Officer.



                                              s/ Kevin C. Frein
                                              KEVIN C. FREIN
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